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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             :
                                      :
      v.                              :        No. 1:21-609-APM
                                      :
JEREMY BROWN,                         :
    Defendant.                        :


                NOTICE OF THE FILING DISCOVERY REQUEST
                  LETTER BY DEFENDANT JEREMY BROWN

      COMES NOW, Allen H. Orenberg, counsel for the defendant, to respectfully

file this Notice of the Filing Discovery Request Letter By Defendant Jeremy Brown.

      Said Discovery Request letter is attached as an Exhibit to this Notice.

                                      Respectfully Submitted,



                                      __________-S-___________________
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Dated: December 17, 2021




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